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                           United States District Court
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 PHL VARIABLE INSURANCE                           §
 COMPANY                                          §
                                                  §
 v.                                               §
                                                  §        CIVIL ACTION NO. 3:23-CV-0243-S
 THE ESTATE OF JAMES E. FROST, II,                §
 By and Through Its Personal                      §
 Representatives Jack W. Dickey, III, and         §
 Erin Dickey, ET AL.                              §

                                     SCHEDULING ORDER

        Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure (“FRCP”), the Local Civil

Rules of the United States District Court for the Northern District of Texas (“LR”), and the Civil

Justice Expense and Delay Reduction Plan of the United States District Court for the Northern

District of Texas, the Court ORDERS as follows:

        1.     This case is set for JURY trial on the Court’s three-week docket beginning

October 7, 2024 (“Trial Setting”). Trial may commence any time during this three-week docket.

If the case is not reached at this setting, it will be reset after considering input from the parties.

Reset or continuance of the Trial Setting does not alter the deadlines in this Order unless expressly

provided by court order.

        2.     The parties shall mediate this case before Hon. Royal Furgeson (“Mediator”) at

least 90 days before the Trial Setting. The parties may not eliminate this requirement or substitute

the Mediator except by leave of court. All parties must attend the mediation in person or by

videoconference, as directed by the Mediator. Legal entities must provide a representative with

full authority. If there is insurance involved, a representative with full authority must attend. The
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Mediator shall contact the Court directly if this deadline needs to be extended or if other

requirements need to be altered.

       3.      Unless otherwise indicated, the parties may by written agreement alter the deadlines

in this paragraph without the need for court order. Continuance of the Trial Setting, motion

deadline, and/or the final pretrial conference requires leave of court with a showing of

extraordinary good cause. Motions may become moot due to trial if filed after the deadlines in this

Order. Deadlines are as follows:

                a. February 5, 2024          – Disclosure of experts for the party with burden of
                                               proof;

                b. March 6, 2024             – Disclosure of opposing experts;

                c. April 5, 2024             – Disclosure of rebuttal experts;

                d. May 10, 2024              – Discovery closes; discovery requests must be
                                               commenced in time to permit response by this
                                               date;

                e. June 7, 2024              – All dispositive motions, including any objections
                                               to expert testimony. This deadline must be at
                                               least 120 days before trial. Parties may not alter
                                               by agreement this deadline for dispositive
                                               motions or motions to strike expert testimony.

       4.      A motion or objection to the taking of a deposition that is filed within five business

days of the notice has the effect of staying the deposition pending court order on the motion or

objection; otherwise, the deposition will not be stayed except by court order.

       5.      The parties shall file all pretrial materials 21 days before the Trial Setting. Failure

to timely file pretrial materials may result in dismissal for want of prosecution. Pretrial materials

shall include the following:

               a.      Pretrial order pursuant to LR 16.4;

               b.      Exhibit lists, witness lists, and deposition designations pursuant to LR 26.2
                       and FRCP 26(a)(3). Witness lists should include a brief summary of the


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                        substance of anticipated testimony (not just a designation of subject area)
                        and the likelihood of testimony at trial. Exhibit lists must include any
                        materials to be shown to the jury, including demonstrative aids;

                c.      Proposed jury charge or proposed findings of fact and conclusions of law.
                        Such documents shall be both e-filed and emailed in “Word” format to
                        Scholer_Orders@txnd.uscourts.gov. Any objections to the proposed jury
                        charge shall be filed no later than 5 days before the final pretrial conference.
                        Objections not so disclosed are waived unless excused by the Court for good
                        cause;

                d.      Motions in limine;

                e.      Requested voir dire questions.

        6.      The pretrial conference shall be held on September 30, 2024, at 1:30 p.m. Lead

counsel must attend. The parties shall be prepared to address all exhibits, witnesses, deposition

excerpts, motions in limine, trial briefs, requested voir dire questions, and any objections to such

filings. The Court expects the parties to have conferred and to reach agreement where possible

prior to the final pretrial conference.

        SO ORDERED.

        SIGNED July 26, 2023.


                                                        ____________________________________
                                                        KAREN GREN SCHOLER
                                                        UNITED STATES DISTRICT JUDGE




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